                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


 L.W., et al.,

         Plaintiffs,                               Case No. 3:23-cv-00376

 v.                                                Judge Eli J. Richardson
                                                   Magistrate Judge Alistair E. Newbern
 JONATHAN SKRMETTI, et al.,

         Defendants.


                                             ORDER

        The parties have moved to continue the initial case management conference set on June 20,

2023, until the Court has resolved the pending motions for preliminary injunctions. (Doc. No. 158.)

The motion is GRANTED. The initial case management conference is RESET on August 10, 2023,

at 9:30 a.m. Counsel for each party shall call (888) 557-8511 and enter access code 7819165# to

participate.

        The parties are reminded of their obligation to file a joint proposed case management order

no later than three business days before the conference. The parties shall also email a Word version

of the joint proposed case management order to Newbern_Chambers@tnmd.uscourts.gov

        It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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